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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     NORFOLK DIVISION



 SWIMWAYS CORPORATION, ET AL.,

        Plaintiffs,
                                                              CIVIL NO. 2;16cv260
        V.



 AQUA-LEISURE INDUSTRIES, INC.,

        Defendant.


                                              ORDER


        This matter comes before the Court pursuant to Markman v. Westview Instruments. Inc..

 52 F.3d 967 (Fed. Cir. 1995) (en banc), aff d, 517 U.S. 370 (1996), to construe certain terms

 contained in the following three patents, which are at issue in the instant case: (1) Patent No.

 8,066,540 ("the '540 Patent"); (2) Patent No. 8,657,640 ("the '640 Patent"); and (3) Patent No.

 8,079,888 ("the '888 Patent") (collectively, the "Asserted Patents").

        On February 7, 2017, Swimways Corporation and Kelsyus LLC ("Plaintiffs") and Aqua-

 Leisure Industries, Inc. ("Defendant") submitted their Joint Statement on Claim Construction in

 which they identified nineteen disputed claims from the Asserted Patents and provided proposed

 constructions. ECF No. 38. The parties then fully briefed the issue and identified two additional

 disputed terms.        Plaintiffs' Opening Claim Construction Brief ("PI. Br."), ECF No. 45;

 Defendant's Opening Claim Construction Brief ("Def. Br."), ECF No. 46; Plaintiffs' Response

 ("PL Resp."), ECF No. 55; and Defendant's Response ("Def Resp."), ECF No. 56. On April 4,

 2017, the Court conducted a Markman hearing during which the parties presented argument and

 evidence in support of their respective constructions. S^ ECF No. 60. The Court's rulings on

 the parties' disputed claim terms are contained herein.

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    I.        LEGAL STANDARDS

         A patent contains two distinct elements, a specification and claims, which serve to

 "secure to [the patentee] all to which he is entitled, [and] to apprise the public of what is still

 open to them." Markman v. Westview Instruments. Inc.. 517 U.S. 370, 373 (1996) (internal

 quotation omitted). The purpose of the specification is two-fold: (i) to describe the invention,

 including how to make it and how to use it, "in such full, clear, concise, and exact terms as to

 enable any person skilled in the art. . . to make and use the same" and (ii) "to set forth the best

 mode contemplated by the inventor or joint inventor of carrying out the invention." 35 U.S.C.

 § 112(a). The claims, which come at the end of the patent document, must "particularly point[]

 out and distinctly claim[] the subject matter which the inventor or a joint inventor regards as the

 invention." Id. § 112(b). "It is a 'bedrock principle' of patent law that 'the claims of a patent

 define the invention to which the patentee is entitled the right to exclude.'" Phillips v. AWH

 Corp.. 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (quoting Innoval Pure Water. Inc. v.

 Safari Water Filtration Svs.. Inc.. 381 F.3d 1111,1115 (Fed. Cir. 2004)).

         A.        Claim Construction

         Construing the meaning of the words contained in a claim is a matter of law to be

 determined by the Court. Markman. 517 U.S. at 388 (1996). The purpose of such claim

 construction is to "determin[e] the meaning and scope of the patent claims asserted to be

 infringed." Markman v. Westview Instruments. Inc.. 52 F.3d 967, 976 (Fed. Cir. 1995) (en

 banc), affd. 517 U.S. 370 (1996).

              1.     Presumption of Plain and Ordinary Meaning

         "In construing patent claims, there is a heavy presumption that a claim term carries its

 ordinary and customary meaning." 3M Innovative Properties Co. v. Averv Dennison Corp.. 350

 F.3d 1365, 1370 (Fed. Cir. 2003). "[T]he ordinary and customary meaning of a claim term is the

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 meaning that the term would have to a person of ordinary skill in the art in question at the time of

 the invention, i.e., as of the effective filing date of the patent application." Phillips. 415 F.3d at

 1313. Moreover, "the person of ordinary skill in the art is deemed to read the claim term not

 only in the context of the particular claim in which the disputed term appears, but in the context

 of the entire patent, including the specification." Id

        "In some cases, the ordinary meaning of claim language as understood by a person of

 skill in the art may be readily apparent even to lay judges, and claim construction in such cases

 involves little more than application of the widely accepted meaning of commonly understood

 words." Id at 1314. As the Federal Circuit has repeatedly held, "a district court is not obligated

 to construe terms with ordinary meanings, lest trial courts be inundated with requests to parse the

 meaning of every word in the asserted claims." 02 Micro Int'l Ltd. v. Bevond Innovation Tech.

 Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (footnote omitted).

        In other cases, however, "determining the ordinary and customary meaning of the claim

 requires examination of terms that have a particular meaning in a field of art." Phillips. 415 F.3d

 at 1314. In such cases, the Court must look to "those sources available to the public that show

 what a person of skill in the art would have understood disputed claim language to mean." Id.

 (internal quotation marks omitted). These sources include intrinsic evidence (discussed below)

 and, where relevant, extrinsic evidence, such as relevant scientific principles and the meaning of

 relevant technical terminology. Id

            2.      Intrinsic Evidence

        The Court begins with the patent's intrinsic record, which consists of the claims, the

 specification, and the prosecution history. Markman. 52 F.3d at 979. "Such intrinsic evidence is

 the most significant source of the legally operative meaning of disputed claim language."

 Vitrionics Corp. v. Conceptronic. Inc.. 90 F.3d 1576, 1582 (Fed. Cir. 1996).
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        First, the Court looks to "the words of the claims themselves, both asserted and

 nonasserted, to define the scope of the patented invention." Vitrionics. 90 F.3d at 1582. "If the

 claim language is clear on its face, then [the Court's] consideration of the rest of the intrinsic

 evidence is restricted to determining if a deviation from the clear language of the claims is

 specified." Interactive Gift Express. Inc. v. Compuserve Inc.. 256 F.3d 1323, 1331 (Fed. Cir.

 2001). As the Federal Circuit has recently reiterated, there are only two circumstances in which

 claim interpretation may deviate from the ordinary and customary meaning of the claim terms:

 "1) when a patentee sets out a definition and acts as its own lexicographer, or 2) when the

 patentee disavows the full scope of a claim term either in the specification or during

 prosecution." Thomer v. Sonv Entm't Am. LLC. 669 F.3d 1362, 1365 (Fed. Cir. 2012); see also

 Phillips. 415 F.3d at 1316-17; Interactive Gift Express. 256 F.3d at 1331. But, in order for an

 inventor to disavow the ftill scope of a claim, an "exacting" standard must be met. Thomer. 669

 F.3datl366.


        When construing claim language, the Court must apply a presumption of claim

 differentiation. See Marine Polvmer Technologies. Inc. v. HemCon. Inc.. 672 F.3d 1350, 1368

 (Fed. Cir. 2012) ("Where a particular construction of an independent claim would nullify claims

 that depend from it, the doctrine of claim differentiation creates a presumption that such a

 construction is improper."); Merck & Co.. Inc. v. Teva Pharm. USA. Inc.. 395 F.3d 1364, 1372

 (Fed. Cir. 2005) ("A claim construction that gives meaning to all the terms of the claim is

 preferred over one that does not do so."); Comark Commc'ns. Inc. v. Harris Corp.. 156 F.3d

 1182, 1187 (Fed. Cir. 1998) (recognizing that while "the doctrine of claim differentiation is not a

 hard and fast rule of construction, it does create a presumption that each claim in a patent has a

 different scope"). This presumption can be rebutted, however, where "the circumstances suggest
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a different explanation, or if the evidence favoring a different claim construction is strong[.]"

Liebel-Flarsheim Co. v. Medrad. Inc.. 358 F.3d 898, 910 (Fed. Cir. 2004).

       After the claim language, the Court next looks to the specification "to determine whether

the inventor has used any terms in a marmer inconsistent with their ordinary meaning."

Vitrionics. 90 F.3d at 1582. "The specification contains a written description of the invention

that must enable one of ordinary skill in the art to make and use the invention." Markman. 52

F.3d at 979. It "may reveal a special definition given to a claim term by the patentee that differs

from the meaning it would otherwise possess.         In such cases, the inventor's lexicography

governs." Phillips. 415 F.3d at 1316. "In other cases, the specification may reveal an intentional

disclaimer, or disavowal, of claim scope by the inventor." Id.

       The specification "is always highly relevant to the claim construction analysis. Usually it

is dispositive; it is the single best guide to the meaning of a disputed term." Id at 1315 (quoting

Vitrionics. 90 F.3d at 1582). However, the Court must take care not to limit the claims based on

specific embodiments fi-om the specification. Phillips. 415 F.3d at 1323.

               To avoid importing limitations fi"om the specification into the claims, it is
       important to keep in mind that the purposes of the specification are to teach and
       enable those of skill in the art to make and use the invention and to provide a best
       mode for doing so. One of the best ways to teach a person of ordinary skill in the
       art how to make and use the invention is to provide an example of how to practice
       the invention in a particular case. Much of the time, upon reading the
       specification in that context, it will become clear whether the patentee is setting
       out specific examples of the invention to accomplish those goals, or whether the
       patentee instead intends for the claims and the embodiments in the specification to
       be strictly coextensive.

Id


       In addition to the specification, the Court "should also consider the patent's prosecution

history, if it is in evidence." Markman. 52 F.3d at 980. The prosecution history "consists of the

complete record of the proceedings before the PTO and includes the prior art cited during the
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examination of the patent." Phillips. 415 F.3d at 1317; Vitrionics. 90 F.3d at 1582. "Like the

specification, the prosecution history provides evidence of how the PTO and the inventor

understood the patent," but "it often lacks the clarity of the specification and thus is less useful

for claim construction purposes." Phillips. 415 F.3d at 1317, "Nonetheless, the prosecution

history can often inform the meaning of the claim language by demonstrating how the inventor

understood the invention and whether the inventor limited the invention in the course of

prosecution, making the claim scope narrower than it would otherwise be." Id

          B.     Indefinite Claims

          The Federal Circuit has instructed that, pursuant to 35 U.S.C. § 112, "the language of the

claims must make it clear what subject matter they encompass." PPG Industries. Inc. v.

Guardian Industries Corp.. 75 F.3d 1558, 1562 (Fed. Cir. 1996).             An applicant meets this

requirement by providing claims that have readily understandable boundaries of the claim's

scope to "those skilled in the art of the scope of the invention." S3 Inc. v. NVIDIA Corp.. 259

F.3d 1364, 1367 (Fed. Cir. 2001). On the other hand, "a patent is invalid for indefiniteness if its

claims, read in light of the specification delineating the patent, and the prosecution history, fail to

inform, with reasonable certainty, those skilled in the art about the scope of the

invention." Nautilus. Inc. v. Biosig Instruments. Inc.. 134 S. Ct. 2120, 2124 (2014). "Any fact

critical to a holding on indefiniteness, moreover, must be proven by the challenger by clear and

convincing evidence." Intel Corp. v. VIA Techs.. Inc.. 319 F.3d 1357,1366 (Fed. Cir. 2003).

    II.        CONSTRUCTION OF THE DISPUTED CLAIM TERMS

          Below is a chart containing a summary of the parties' disputed claim terms and the

Court's ruling on each term.     A discussion of the Court's reasoning is contained in the next

section. See infra Part III.
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                                        Plaintiffs' Proposed        Defendant's Proposed
  Disputed Term     Claims at Issue                                                                      Court's Ruling
                                            Construction                  Construction

     TERM I         '540 Patent:      An upright-seated            Position with the torso       Includes an upright-
  seated position   Claims 1, 21 &    position and a reclined      erect and the legs bent;      seated position and
                    23                seated position, but not a   not a lying or prone          reclined position, but
                    '640 Patent:      prone (or supine)            position.                     not a prone position.
                    Claims 1 & 4      position.

     TERM 2         '540 Patent:      A member that supports       A segment of the              A member that

  foot support/     Claim 23          a user's feet, but not       apparatus separate from       supports a user's feet,
   foot support     '640 Patent:      necessarily different or     the buoyant support           but not necessarily
     member         Claim 5           separate from the            member, that supports the     different or separate
                                      buoyant member.              user's feet and is attached   from the buoyant
                                                                   to the flotation device via   member.
                                                                   the panel, a rod, a tether,
                                                                   or the spring.
     TERM 3         All claims in     Plain and ordinary           The collapsible flotation     Plain and ordinary
    apparatus       the Asserted      meaning, which does not      device which includes a       meaning, which does
                    Patents           require a spring.            coilable spring.              not require a spring.
     TERM 4         '540 Patent:      Plain and ordinary           Indefinite - the              Not indeflnite.

  bacli support     Claims 1, 21 &    meaning, which does not      specification refers to a
  member / back     23                require a "separate          back support member
                                                                                                 Plain and ordinary
 support portion    '640 Patent:      segment" or providing        only.
                                                                                                 meaning.
                    Claims 1 & 2      support "over and above      Alternatively:
                                      the perimeter buoyant
                                                                   The back support portion
                                      member."                                                   The terms "back
                                                                   of the device is a separate
                                                                                                 support member" and
                                                                   part of the inflatable
                                                                                                 "back support portion"
                                                                   member, which provides
                                                                                                 may or may not be
                                                                   back support over and
                                                                                                 interchangeable
                                                                   above the perimeter
                                                                                                 depending on the
                                                                   buoyant member, for the
                                                                                                 context in which they
                                                                   user to float in a seated
                                                                                                 are used.
                                                                   position.


                                                                   The back support member
                                                                   is a separate segment of
                                                                   the inflatable flotation
                                                                   device.

    TERM 5          '540 Patent:      Plain and ordinary           Physically joined.            Plain and ordinary
     coupled        Claim 1           meaning.                                                   meaning, which does
                    '640 Patent:                                                                 not require being
                    Claims 3 & 9                                                                 physically joined.

    TERM 6          '540 Patent:      Relates to the shape of      Requires a physical hole      Plain and ordinary
     opening        Claims 22 & 23    the panel or inflatable      without a covering.           meaning, which does
                                      member, but does not                                       not require a physical
                    '640 Patent:
                                      require a physical hole.                                   hole.
                    Claim 1
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                                          Plaintiffs' Proposed        Defendant's Proposed
  Disputed Term       Claims at Issue                                                                  Court's Ruling
                                              Construction                 Construction

     TERM 7           '540 Patent:      Plain and ordinary           Part of the inflatable        Plain and ordinary
 buoyant member       Claims 1, 2, 3,   meaning, e.g., a member      flotation device, separate    meaning, which does
                      21 &23            providing buoyancy,          from the back support         not require an
                                        which may be or include      member, support member        inflatable-bladder
                                        an inflatable bladder,       and the foot support          component or
                                        which does not require       member, which enables         separation from the
                                        the buoyant member to        flotation, being comprised    back support member,
                                        be physically separate or    of an inflatable bladder or   support member, or the
                                        "separate from the back      bladders.                     foot support member.
                                        support member."                                           Merely a "buoyant"
                                                                                                   member.

     TERM 8           '540 Patent:      Plain and ordinary           Separate parts of the         Plain and ordinary
 buoyant member       Claims 1 & 21     meaning, which does not      buoyant member, such as       meaning, which does
   having a first                       require physically           separate inflatable           not require physically
   portion and a                        separate parts (i.e., the    bladders.                     separate parts and is
  second portion                        portions may be portions                                   not limited to an
                                        of a single buoyant                                        "inflatable" member.
                                        member) and is not
                                        limited to inflatable
                                        bladders.

     TERM 9           '540 Patent:      The entire claim element     Material extending            The term

    extending         Claim 1           requires the inner portion   completely and without        "continuously" means
   continuously                         to extend between the        interruption from one         uninterrupted by an
                                        first and second portions    separate portion of the       intervening buoyant
                                        of the buoyant member        buoyant member (such as       member.
                                        without an intervening       a separate inflatable         Otherwise, plain and
                                        buoyant member.              bladder) to another           ordinary meaning
                                                                     separate portion of the       applies.
                                                                     buoyant member on the
                                        Does not require
                                                                     opposite side of the inner
                                        physically separate
                                                                     panel.
                                        portions.
    TERM 10           '540 Patent:      Plain and ordinary           The buoyant member is         Plain and ordinary
 buoyant member       Claims 1,2,21     meaning, which does not      disposed within at least a    meaning, which does
  disposed within     &23               require a "coilable          portion of the coilable       not require a spring.
 at least a portion                     spring" or a "spring         spring that forms the outer
   of the outer                         which forms the outer        part of the panel.
  portion of the                        part of the panel."
      panel
    TERM 11           '540 Patent:      Plain and ordinary           One piece of mesh             Plain and ordinary
  mesh material       Claim 23          meaning, which is not        connected to the back         meaning.
 being disposed at                      limited to (1) "one piece    support portion on one
 least between the                      of mesh," (2) where the      end and connected to the
   back support                         mesh connects to the         support portion on the
  portion and a                         apparatus, or (3) forming    other end of the opening,
 support portion                        a "hammock-like spring       forming a hammock-like
  defined by the                        [sic]".                      sling.
      panel
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                                           Plaintiffs' Proposed         Defendant's Proposed
  Disputed Term        Claims at Issue                                                                   Court's Ruling
                                               Construction                  Construction

     TERM 12           '540 Patent;      Plain and ordinary            A spring, rigid support or    Plain and ordinary
 support portion       Claim 23          meaning, which is not         semi-rigid support or a       meaning.
                                         limited to a "spring, rigid   separate inflatable
                                         support or semi-rigid         bladder.
                                         support or a separate
                                         inflatable bladder."

     TERM 13           '640 Patent:      Plain and ordinary            The same piece of mesh        Plain and ordinary
 the user's back is    Claim 1           meaning, which is not         membrane connected to         meaning.
    collectively                         limited to "same piece of     the support portion covers
 supported by the                        mesh membrane                 the seat portion and is
  back portion of                        connected to the support      attached to the back

     the mesh                            portion covers the seat       support portion forming a
  membrane and                           portion and is attached to    hammock-like sling with
 the back support                        the back support portion      the mesh supporting that
   portion of the                        forming a hammock-like
     inflatable                          sling with the mesh
     member                              supporting that user."

    TERM 14            '888 Patent:      Plain and ordinary            Air tight material which      Plain and ordinary
 a second flexible     Claim 15          meaning, which is not         forms the bladder for the     meaning, which does
 material deflning                       limited to an "air tight      inflatable chamber.           not require that the
   an inflatable                         material... form[ing] the                                   second flexible material

     chamber                             bladder for the inflatable                                  form or create the
                                         chamber."                                                   inflatable chamber.

    TERM 15            '888 Patent:      Plain and ordinary            Physically joined or          Plain and ordinary
      coupled          Claim 15          meaning.                      attached.                     meaning, which does
                                                                                                     not require being
                                                                                                     physically joined or
                                                                                                     attached.

    TERM 16           I '888 Patent:     Plain and ordinary            Indefinite.                   Not indefinite.

  flxedly coupled      Claim 15          meaning.                                                    Plain and ordinary
                                                                                                     meaning.

    TERM 17            '888 Patent:      Plain and ordinary            Different types of flexible   Plain and ordinary
   first flexible      Claim 15          meaning.                      material.                     meaning.
     material /
  second flexible
     material

    TERM 18            '888 Patent:      Plain and ordinary            The exterior of the pillow    Plain and ordinary
    collectively       Claim 15          meaning.                      extends within the inner      meaning.
    defining an                                                        perimeter of the second
  interior region                                                      material and together they
                                                                       define the interior region.
    TERM 19            '888 Patent:      Plain and ordinary            Indefinite.                   Not indefinite.

 different than the    Claim 19          meaning.                                                    Plain and ordinary
       shape                                                                                         meaning.

    TERM 20            '888 Patent:      A pattern, such as a          Material other than nylon     Plain and ordinary
  mesh material        Claim 18          weave, that allows water      or polyester.                 meaning.
                                         to flow through.
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     III.      DISCUSSION


               1.      "seated position" - Claims 1, 21 & 23 of the *540 Patent; Claims 1 & 4 of
                       the *640 Patent

            Plaintiffs and Defendant have already appeared in this Court and disputed the

 construction of Term 1 before United States District Judge John A. Gibney, Jr. in the following

 suit: Swimwavs Corporation, et al.. v. Aaua-Leisure Industries. Inc.. Civil Case No. 3:12cv205.

 In that case. Judge Gibney construed the term "seated position" with respect to the '540 Patent,

 finding that the term "includes an upright-seated position and reclined seated position, but not a

 prone position." S^ October 23, 2013 Markman Order, Case No. 3:12cv205, Dkt No. 38 (Term

 5). Importantly, the '640 Patent now at issue is in the same family as the '540 Patent and

 contains the same specification as the '540 Patent except for one additional figure (Figure 4A)

 added to the '640 Patent's specification. S^ PL Br. at 2-3; '640 Patent at Fig. 4A.

            The Court finds that, in light of the claim language and the specification of both the '540

 and '640 Patents, Judge Gibney's construction of Term 1 is appropriate. See, e.g.. '540 Patent at

 4:17-19 and '640 Patent at 4:22-24 (". . . the back support may be configured to recline at

 various angles . . .") (emphasis added); '540 Patent at 6:29-30 and '640 Patent at 6:38^0

 (differentiating between an "upright-seated position" and other seated positions). Therefore, the

 Court adopts Judge Gibney's prior construction of Term 1 in the instant case. S^ DE Techs..

 Inc. V. IShopUSA. Inc.. 826 F. Supp. 2d 937, 941 (W.D. Va. 2011) (finding that the court's prior

 Markman rulings should be given "deferential treatment unless clearly erroneous") (internal

 citation omitted).

               2.      "foot support" / "foot support member" - Claim 23 of the *540 Patent;
                       Claim 5 of the *640 Patent

            Like Term 1 above, Term 2 has already been construed by Judge Gibney with respect to

 the '540 Patent in Case No. 3:12cv205 in this Court, S^ October 23, 2013 Markman Order,

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 Dkt. No. 38 (Term 6, "foot support"). The Court finds no error in Judge Gibney's conclusion

 that "[njothing in the claims or specification require this Court to limit the definition of foot

 support to a different member from the buoyant member" as Defendant proposes. Id. Notably,

 the description of Figure 1 in both the '540 and '640 Patents expressly states that, in cases of

 inflatable foot members, the foot support member "may be inflated . . . bv connecting the

 inflatable bladder ... to the foot support member to provide air pressure within the foot support

 member." '540 Patent at 6:46-50 (emphasis added); '640 Patent at 6:56-60 (emphasis added).

 It follows that the foot support does not necessarily need to be different or separate from the

 buoyant member because the common specification teaches that they could be seamlessly

 connected. Therefore, the Court adopts Judge Gibney's prior construction of Term 2 in the

 instant case.    DE Techs.. Inc.. 826 F. Supp. 2d at 941.

             3.     "apparatus" - Ail Claims in the Asserted Patents

         While each of the asserted claims in this case contains the term "apparatus" in the

 preamble, none of the asserted claims refers to a "coilable spring." Nonetheless, Defendant

 argues that Term 3 must be given a limiting construction to account for what was actually

 invented in each of the Asserted Patents, which, according to Defendant, is a collapsible flotation

 device with a coilable spring. Def Br., ECF No. 46 at 10. In support. Defendant emphasizes the

 fact that "no embodiments or examples disclosed in any of the patents are of an apparatus that

 does not contain a spring." Id

        The Court notes at the outset that, in the prior litigation before Judge Gibney, Defendant

 tried to import a spring limitation from the '540 Patent's specification into its claims by

 proposing that the term "panel" be construed as "having a circumferentially attached spring"

 even though the claims at issue did not reference a spring. Case No. 3:12cv205, October 23,

 2013 Markman Order, Dkt. No. 38 at 4.                Judge Gibney rejected Defendant's limiting

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 construction of "panel," relying on the Federal Circuit's guidance that a court's claim

 construction "must not import limitations from the specification into the claims." Id. (quoting

 Deere & Co. v. Bush Hog. LLC. 703 F.3d 1349, 1354 (Fed. Cir. 2012) (internal citation

 omitted)). This principle applies here too for several reasons.

         First, a special definition of the otherwise unambiguous term "apparatus" is not specified

 in any of the Asserted Patents in this case.         Interactive Gift Express. 256 F.3d at 1331; ^

 also Source Vagabond Svs. Ltd. v. Hvdranak. Inc.. 753 F.3d 1291, 1299-300 (Fed. Cir. 2014)

 (construing "rod" according to its ordinary and plain meaning where there was "no indication or

 reference in the specification that 'rod' mean[t] 'rod-plus-container.'"). Nonetheless, Defendant

 argues that the Court should limit preamble language like "apparatus" where it is necessary to

 give "life and meaning" to the claim. Def. Br., ECF No. 46, at 5 (citing Coming Glass Works v.

 Sumitomo Elec. U.S.A.. Inc.. 868 F.2d 1251 (Fed. Cir. 1989)). But Coming Glass Works is

 clearly distinguishable. In that case, the disputed preamble term was not a general term like

 "apparatus" but rather a technical term related to fiber optics ("optical waveguide"), which was

 specifically defined in the patent's specifications. Id at 1256; see also Merck, 395 F.3d at 1370

 ("When a patentee acts as his own lexicographer in redefining the meaning of particular claim

 terms away from their ordinary meaning, he must clearly express that intent in the written

 description.").   Such is clearly not the case here, where nothing in the patent specifications

 indicates that the term "apparatus" deviates from its plain and ordinary meaning.

        Second, a close reading of the Asserted Patents in this case shows that the spring-

 containing embodiments detailed in the specifications are meant to be exemplarv. not

 coextensive with the claims. S^ Phillips v. AWH Corp.. 415 F.3d 1303, 1323 (Fed. Cir. 2005)

 (noting the difference between embodiments intended to be instmctional examples and those



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 intended to be exhaustive). For example, the Detailed Description of the Preferred Embodiments

 in the '888 Patent states that the "description is of the best presently contemplated modes of

 carrying out the invention," and are "not to be taken in a limiting sense." '888 Patent at 2:48-50.

 It goes on to state "that many modifications may be made [to the described embodiments]

 without departing from the spirit thereof and that the patent claims are "intended to cover such

 modifications as would fall within the true scope and spirit of the present invention." Id at 4:4-

 8. The '540 and '640 Patents contain similar instructional disclaimers. See, e.g.. '540 Patent at

 14: 22-23; '640 Patent at 14:33-36.

        Finally, the doctrine of claim differentiation precludes importing a spring limitation into

 the term "apparatus" as the Defendant proposes.       All three Asserted Patents contain several

 claims that specifically reference a "spring" or "shape-retaining member," many of which are

 dependent on the asserted claims, which make no such reference.          See, e.g.. '540 Patent at

 Claims 4, 5, 8, 15 (reciting a "shape-retaining member"); '640 Patent at Claims 10, 11 (reciting a

 "shape-retaining member"); and '888 Patent at Claims 2, 11, 16 (reciting a "spring"). Therefore,

 under the doctrine of claim differentiation, the Court must presume that the dependent claims

 were specifically intended to add such a limitation and that such limitation is not otherwise

 present in the asserted claims. Phillips. 415 F.3d at 1315; see also Liebel-Flarsheim. 358 F.3d at

 910 ("[W]here the limitation that is sought to be 'read into' an independent claim already

 appears in a dependent claim, the doctrine of claim differentiation is at its strongest.").

 Furthermore, the presumption is unrebutted here because Defendant has offered no compelling

 evidence favoring a different construction. See Liebel-Flarsheim. 358 F.3d at 910.

        For all of these reasons, the Court finds that Term 3 does not require construction. The

 plain and ordinary meaning of this term applies, which does not require a spring.



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             4.      "back support member" / "back support portion" - Claims 1, 21 & 23 of
                     *540 Patent: Claims 1 & 2 of *640 Patent

         The Court does not find Term 4 indefinite as Defendant suggests. Rather, the Court

 finds that the ordinary meaning of both "back support member" and "back support portion" in

 the asserted claims, as understood by a person of skill in the art, "is readily apparent to even lay

 judges."   Phillips. 415 F.3d at 1314 (citation omitted).     Therefore, claim construction here

 "involves little more than the application of the widely accepted meaning of commonly

 understood words." Id       And because these claims can be construed, they are not indefinite.

 Aero Prods. Int'l Inc. v. Intext Recreation Corp., 466 F.3d 1000,1016 (Fed. Cir. 2006).

         The plain and ordinary meaning of "portion" is a part of a larger whole. Depending on

 the context of a particular claim in the Asserted Patents, a "back support portion" can mean a

 portion of the "back support member" or it can mean a portion of the larger apparatus.

 Therefore, the terms "back support member" and "back support portion" could be

 interchangeable in some claims and distinct in other claims depending on the context in which

 they appear. In sum, no construction of Term 4 is necessary. The plain and ordinary meaning

 of this term applies.

            5.      "coupled" - Claim 1 of *540 Patent: Claims 3 & 9 of *640 Patent

         Defendant argues that the '540 and '640 Patent specifications require that the term

 "coupled" be construed as "physically joined" because several of the embodiments describe or

 depict "coupled" parts of the device as directly, physically joined. Def Br., ECF No. 46 at 18-

 20 (citing, e.g.. '540 Patent at 8:64-9:6; '640 Patent at 9:4-16 (describing Figures 7A and 7B

 which distinguish between a membrane that is coupled and one that is not coupled to other

 members of the device)). Defendant claims that, without this limiting construction, the term

 "coupled" would be meaningless with respect to the invention because "each part of the float


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 would always be coupled to every other part of the float." Id at 20.

         Upon reviewing the claims at issue, the ordinary meaning of the term "coupled," as

 understood by a person of skill in the art, is readily apparent to the Court. Phillips. 415 F.3d at

 1314. Nothing in this ordinary meaning of the term requires direct, physical joining. See, e.g..

 Couple (v.^. Webster's Third New International Dictionary (3d ed. 1981) ("1. to connect for

 consideration together, or to join for combined effect; 2. to fasten together: join, link."). Indeed,

 the means by which components are "coupled" (e.g., directly or indirectly, with or without the

 use of intervening parts, etc.) is only limited, if at all, by other elements in the claims.

        Nothing in the patent specifications indicates that the patentee intended to limit or alter

 the ordinary meaning of "coupled." In fact, the descriptions of Figure 7A and 7B, which are

 cited by Defendant, use the terms "coupled" and "attached" interchangeably.              '540 Patent at

 8:64-9:6; '640 Patent at 9:4-16. In a second example, which is highlighted by Plaintiffs, the

 specification describes a spring being "coupled to the panel (e.g., bv wav of a sleeve, etc.),"

 revealing that the components are joined or attached but not directly or physically so.           '540

 Patent at 5:29-31 (emphasis added); '640 Patent at 5:39^1 (emphasis added).

        Finally, in the case cited by Defendant, Medtronic Sofamore Danel USA. Inc. v. Glibus

 Med.. Inc.. the court construed the term "coupled" to mean "joined, linked or fastened together"

 based on the parties' agreement to construe it "according to its ordinary meaning, as evidenced

 by general purpose dictionaries." No. 06-4248, 2008 WL 732022, at *17 (E.D. Pa. Mar. 18,

 2008). affd sub nom. Warsaw Orthopedic. Inc. v. Globus Med.. Inc.. 416 F. App'x 67 (Fed. Cir.

 2011); ^    Def. Br., ECF No. 46 at 20.         Contrary to Defendant's position, nothing in this

 definition implies direct, physical joining.

        In sum, the Court finds that no construction of Term 5 is required.              The plain and



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 ordinary meaning of the term applies, which does not require being physically joined.

             6.      "opening" - Claims 22 & 23 of *540 Patent; Claim 1 of *640 Patent

          Term 6 was not initially identified in the parties' Joint Statement on Claims Construction

 but surfaced as an additional disputed term in the parties' briefing.      PI. Br., ECF No. 45 at

 16; Appendix to Def. Resp., ECF No. 56-1. The parties dispute whether the term "opening"

 means a physical hole. Plaintiffs argue that the terms "opening" and "hole" are used differently

 in the patents and therefore must have different meanings. PI. Br., ECF No. 45 at 16. For

 example, Plaintiffs highlight the fact that Claim 6 of the '640 Patent recites a "hole between the

 leg support portion and the foot support member" rather than using the term "opening," and that

 the common specification for both the '540 and '640 Patents states that, in some embodiments,

 "the outer portion of the panel can include ... a hole or opening ..." Id (citing '640 Patent at

 15:17-18 and '540 Patent at 3:40 (emphasis added)). From this. Plaintiffs conclude that the term

 "opening" "relates to the shape of the panel or inflatable member (such as a toroidal shape or a

 loop shape), but does not require a physical hole." Id Defendant rejects Plaintiffs' construction

 as deviating from the plain meaning of "opening," which in Defendant's view, cannot be

 covered. Appendix to Def Resp., ECF No. 56-1.

          The Court begins with the ordinary meaning of "opening." When used in the physical

 sense, the term "opening" means a gap or vacant space in a structure. See, e.g.. Opening (n.).

 Oxford English Dictionary (OED Online, March 2017) ("9.(a), a vacant space between portions

 of solid matter; a gap, hole, or passage; an aperture"); Opening (n.\ Webster's Third New

 International Dictionary (3d ed. 1981) ("something that is open: as (a) (1): breach, aperture").

 Therefore, in the ordinary usage of the term, an "opening" can be covered or crossed by some

 other structure or material. The "opening" merely refers to the gap or space in the structure

 itself

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        Nothing in the claims or specification suggests that the patentee intended to limit or alter

 this ordinary meaning of "opening." For example, Claims 23 and 23 of the '540 Patent shows

 that the patentee did not contemplate than an "opening" in the device would necessarily require a

 wholly vacant space that would allow objects, such as legs, to pass through. Claim 22 recites

 "the panel defining an opening configured to collectively receive a user's legs therethrough . . ."

 '540 Patent at 17: 42-45. By contrast, Claim 23 recites "the panel defining an opening" with no

 mention of such opening being configured to receive a user's legs therethrough. Id. at 18:11-12.

 Moreover, Claim of the '640 Patent recites "the mesh membrane disposed entirelv over the

 opening of the inflatable member," which shows that the term "opening" with respect to this

 invention does not preclude an opening that is covered.       '640 Patent at 14: 46-47 (emphasis

 added). Thus, the term's usage in the asserted claims is consistent with the ordinary meaning of

 "opening," which is not limited to an uncovered, physical hole.         Similarly, nothing in the

 specification indicates that the patentee disavowed or redefined this ordinary meaning of

 "opening." Thorner. 669 F.3d at 1365.

        For these reasons, the Court finds that the ordinary and plain meaning of Term 6 applies,

 which does not require a physical hole.

            7.     "buoyant member" - Claims 1,2,3, 21 & 23 of *540 Patent

        The ordinary meaning of "buoyant member" in the asserted claims, as understood by a

 person of skill in the art, is "readily apparent" to the Court.      Phillips, 415 F.3d at 1314.

 Therefore, the "widely accepted meaning" of these "commonly understood words" applies, id.,

 which is a member providing or enabling buoyancy.

        Defendant proposes a limited construction of Term 7, which would require an inflatable-

 bladder component as well as "separateness" from the back support member, support member,

 and the foot support member.       Def. Br., ECF No. 46 at 21. But imposing such limitations is

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 not supported by the claims or the specification. First, the specification expressly contemplates a

 "foam insert" as a potential buoyant member. '540 Patent at 13:61-14:13. Therefore, the term is

 clearly not limited to members "comprised of an inflatable bladder or bladders" as the Defendant

 proposes.


        Second, the specification clearly states that, in some embodiments, the buoyant member

 and one or more other "members" of the apparatus can form one integral piece. See, e.g.. '540

 Patent at 8:10-12 ("In other embodiments, the support member, the inflatable bladder, and the

 back support member can form an integral piece."); '540 Patent at 6:24-26 ("In yet another

 embodiment, the back support member can be inflated by an inflatable bladder portion integrally

 formed with [the inflatable] bladder."). Therefore, "separateness" from other components of the

 apparatus is not implied by the term "buoyant member."          Nor is the Court persuaded by

 Defendant's argument that the term "buoyant member" has to be separate from other members

 for the term to have any "real meaning." S^ Def Br., EECF No. 46 at 21. The necessary

 delineation between various members of the device flows from the claims themselves, which

 describe the function and configuration of each member.

        For these reasons, the Court finds that no construction of Term 7 is necessary. The plain

 and ordinary meaning of the term applies, which does not require an inflatable-bladder

 component or separation from the back support member, support member, or the foot support

 member. It merely requires a "buoyant" member.

             8.    "buoyant member having a first portion and a second portion" - Claims
                   l&21of '540 Patent

        With respect to Term 8, the Court again finds that claim construction "involves little

 more than application of the widely accepted meaning of commonly understood words."

 Phillips. 415 F.3d at 1314. The Court does not find any ambiguity in the words of this term or in


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 the context in which they are used. As noted above, the plain meaning of "portion" means a part

 of a larger whole. Nothing in the ordinary meaning of the phrase "a first portion and a second

 portion" implies that such parts must be physically separate, as Defendant proposes. Nor does

 anything in the specification indicate that the patentee redefined or disavowed the ordinary

 meaning of the phrase "a first portion and a second portion" to impose such a limitation. See

 Thomer. 669 F.3d at 1366; hiteractive Gift Express. 256 F.3d at 1331. To the extent Defendant

 argues that the two "portions" must be "separate" so as to be distinct, such distinction flows from

 the claims themselves.


        Furthermore, the Court has already found that the term "buoyant member" is not limited

 to "being comprised of an inflatable bladder or bladders."           supra discussion of Term 7.

 Therefore, it follows that "portions" of such buoyant member are not necessarily comprised of

 inflatable members.


        For these reasons, the plain and ordinary meaning of Term 8 applies, which does not

 require physically separate parts and is not limited to an "inflatable" member.

            9.      "extending continuously" - Claim 1 of *540 Patent

        Term 9 appears in the following claim element of Claim 1: "the inner portion of the

 panel extending continuously between the first portion of the buoyant member and the second

 portion of the buoyant member without an intervening buoyant member." '540 Patent at 14:49-

 52 (emphasis added).

        Defendant argues that the term "extending continuously" means that the panel must

 extend "completely and without interruption from one separate portion of the buoyant member

 (such as a separate inflatable bladder) to another separate portion of the buoyant member on the

 opposite side of the inner panel." Def Br., ECF No. 46 at 21. However, much of this proposed

 construction relies on Defendant's proposed construction of Term 8 above, which attempts to

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 limit the meaning of the first and second "portions" of the buoyant member as being "separate,"

 as in "separate inflatable bladders." The Court has already found that the plain and ordinary

 meaning of "first portion" and "second portion" applies.            Therefore, the Court rejects

 Defendant's proposed construction of Term 9 insofar as it rewrites these claim terms to require

 "separate portions" of the buoyant member or the presence of inflatable bladders.

         The remainder of Defendant's proposed construction construes the term "extending

 continuously" to mean "extending completely and without interruption," as in without any holes

 or gaps, between "each claimed portion of the buoyant member." Def. Br., ECF No. 46 at 22.

 Defendant argues that this is the plain meaning of the term and that it is supported by the

 specification.   Id (comparing Figures 1 and 7A of the '540 Patent to show the difference

 between an inner panel that extends continuously and one that does not); see also Def Resp.,

 ECF No. 56 at 6.


        Plaintiffs contest this construction of the term "extending continuously," claiming that

 Defendant ignores the end of the claim term - "without an intervening buoyant member" -

 which provides important context for the meaning of the term.        PI. Br., ECF No. 20 at 19.

 Plaintiffs explain that this specific claim element was added during prosecution of the parent

 patent in 2009 in order to overcome a prior art rejection. Id at 20. The prosecution history

 reveals that the Examiner issued a rejection on the grounds that another patent disclosed a similar

 flotation device, which had an intervening buoyant member. Id (citing Figure 1 of U.S. Patent

 6,257,943, which depicts a flotation device with an inner panel that is interrupted by an

 intervening buoyant member in the center of the float). As a result, the parent-patent applicant

 submitted an amendment, which added the "extending continuously" phrase. Id Then, this

 exact limiting phrase was included in Claim 1 of the '540 Patent, which is now at issue here. Id



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         In light of the claim language and the relevant prosecution history, the Court finds that

 the word "continuously" in Term 9 means "uninterrupted by an intervening buoyant member."

 See Philips. 415 F.3d at 1317 (holding that prosecution history often demonstrates how the

 inventor understood the invention and thus informs the meaning of the claim language).

 Otherwise, the plan and ordinary meaning of the term applies.

            10.     "buoyant member disposed within at least a portion of the outer portion
                    of the panel" - Claims 1,2,21 & 23 of *540 Patent

         With respect to Term 10, Defendant again seeks to impose a spring limitation into claim

 elements that make no reference to a spring. To support its limited construction. Defendant

 relies on references to a spring in both the Abstract and the Summary sections of the

 specification, the latter of which states: "The various collapsible flotation devices of the

 invention are formed from a panel including an inner portion and an outer portion, and a spring

 disposed about the outer portion of the panel ..." Id, (citing Patent '540 at 3:6-9 (emphasis

 added)). From this and the patent's spring-containing embodiments. Defendant insists that the

 "the inventors made a coilable spring a necessary part of the device." Id

         Similar to the Court's findings with respect to Term 3 ("apparatus"), neither the claims

 nor the specification supports Defendant's rewriting of the phrase "outer portion of the panel" to

 mean "the coilable spring that forms the outer part of the panel." As discussed above. Judge

 Gibney already rejected Defendant's proposal to construe the term "panel" in the '540 Patent to

 mean a panel-with-a-spring. Case No. 3:12cv205, October 23, 2013 Markman Order at 4. This

 Court again finds that it cannot import a spring limitation from the specification and

 embodiments where no such limitation exists in the claims themselves.        Philips. 415 F.3d at

 1323.


         Furthermore, the doctrine of claim differentiation disfavors reading a limitation into


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 asserted claims when that limitation is expressly included in other, nonasserted claims. Phillips.

 415 F.3d at 1315; Liebel-Flarsheim. 358 F.3d at 910. For example, Claim 4 of the '540 Patent is

 dependent on Claim 1, which contains the disputed term at issue here. Claim 4 expressly adds

 the following limitation to Claim 1: "... a shape-retaining member disposed about the outer

 portion of the panel, the shape-retaining member being movable between a coiled configuration

 and an uncoiled configuration." '540 Patent at 15: 10-14. This dependent claim would be

 superfluous if Claim 1 already required a coilable spring to form the outer portion of the panel.

 Therefore, there is a strong presumption that the patentee specifically intended for the claims at

 issue here to n^ include a spring or other shape-retaining member. Liebel-Flarsheim. 358 F.3d

 at 910. Defendant has presented no compelling evidence to rebut this presumption.

        For these reasons, the Court finds that Term 10 does not require construction. The plain

 and ordinary meaning of this term applies, which does not require a spring.

            11.    "mesh material being disposed at least between the back support portion
                   and a support portion deflned by the paneP - Claim 23 of *540 Patent

        With respect to Term 11, the Court again finds that claim construction "involves little

 more than application of the widely accepted meaning of commonly understood words."

 Phillips. 415 F.3d at 1314. The Court does not find any ambiguity in the words of this term or in

 the context in which they are used. Nor is the ordinary meaning of any of these words redefined

 or disavowed in the specification. Thomer. 669 F.3d at 1365.

        Defendant seeks to limit the ordinary meaning of Term 11 in three ways: (1) by

 construing the phrase "mesh material" to mean "one piece of mesh;" (2) by construing the phrase

 "disposed at least between" to mean "connected to;" and (3) by adding the requirement that the

 mesh material form "a hammock-like swing." Def Br., ECF No. 46 at 24. Defendant's only

 support for this limited construction is Figure 7A, which, according to Defendant, "illustrates


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 what the inventors meant with [Term 11]." Id (citing '540 Patent at Sheet 7). However, the

 Federal Circuit has clearly stated that limitations depicted in the specification must not be

 imported into the claims. Deere & Co.. 703 F.3d at 1354. The features of Figure 7A are clearly

 exemplary and not required of every embodiment of the invention. See Philips. 415 F.3d at 1323.

        In sum, the Court finds that no construction of Term 11 is necessary. The plain and

 ordinary meaning of this term applies.

            12.     "support portion" - Claim 23 of *540 Patent

        With respect to Term 12, the Court again finds that claim construction "involves little

 more than the application of the widely accepted meaning of commonly understood words."

 Phillips. 415 F.3d at 1314. A support portion is a portion that provides support. This term is

 broad and is used broadly in the claim.      '540 Patent at 18:12-14 ("the mesh material being

 disposed at least between the back support portion and a support portion defined bv the panel"")

 (emphasis added); id at 18:20-22 ("the opening disposed between the foot support and the

 support portion"). The Court does not find any ambiguity in the words of this term or in the

 context in which it is used. Nor is the ordinary meaning of "support portion" redefined or

 disavowed in the specification. Thomer. 669 F.3d at 1365.

        Defendant argues that the meaning of the term "support portion" is uncertain because it is

 not used in the patent specification and that the only clue with respect to its meaning comes from

 the following discussion of "support members" in the specification: "In accordance with some

 embodiments of the invention, the outer portion of the panel can include one or more buoyant

 members (e.g., an inflatable bladder), one or more support members (e.g., a spring, rigid support

 member, or semi-rigid member)..." Def. Br., ECF No. 46 at 24-25 (citing '540 Patent at 3:33-

 37). From this. Defendant concludes that "support portion" must mean "a spring, rigid support

 or semi-rigid support or separate inflatable bladder." Id at 24.

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        However, Defendant defies its own logic by inserting "separate inflatable bladder" into

 its proposed construction where the specification excerpt on which it relies refers to such bladder

 as a buovant member, not a support member. Furthermore, it is clear from the specification that

 these various components are listed as examples only ("e.g.").          Exemplary embodiments

 contained in the specification cannot be imported as limitations into the claims.         Deere &

 Co., 703 F.3datl354.

        Because the Court is "not obligated to construe terms with ordinary meanings," no

 construction of the term "support portion" is necessary.        02 Micro Int'l Ltd.. 521 F.3d at

 1360. Therefore, the plain and ordinary meaning of Term 12 applies.

            13.     "the user's back is collectively supported by the back portion of the mesh
                    membrane and the back support portion of the inflatable member" -
                    Claim 1 of *640 Patent

        With respect to Term 13, Defendant argues that the phrases "back support portion" and

 "back portion" contained therein are indefinite. Def Br., ECF No. 46 at 25. In the alternative.

 Defendant argues that Term 13 should be construed as follows: "The same piece of mesh

 membrane connected to the support portion covers the seat portion and is attached to the back

 support portion forming a hammock-like sling with the mesh supporting that user." Id

        First, the Court does not find the terms "back support portion" and "back portion"

 indefinite as Defendant suggests.      Def Br., ECF No. 46 at 25. As discussed above, the term

 "portion" means a part of a larger whole. Similar to this Court's finding with respect to Term 4,

 the meaning of "back support portion" and "back portion" is readily apparent from the context in

 which these phrases appear. Therefore, construction of these phrases "involves little more than

 the application of the widely accepted meaning of commonly understood words." Philips. 415

 F.3datl314.


        Second, the Court rejects Defendant's proposed construction of Term 13. Similar to its

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 proposed construction of Term 11, Defendant argues that Figure 7A is "illustrative" of this claim

 element. Def. Br. ECF No. 46 at 25. But nothing in the claims or specification indicates that the

 patentee redefined or disavowed the ordinary meaning of any of the words in this term. Without

 such evidence, importing limitations from the specification into a claim is improper. Deere &

 Co.. 703 F.3datl354.


        In sum, the Court finds that the ordinary meaning of Term 13, as understood by a person

 of skill in the art, "is readily apparent to even lay judges." Phillips. 415 F.3d at 1314 (citation

 omitted). Therefore, no construction is necessary, and the plain and ordinary meaning applies.

            14.        second flexible material defining an inflatable chamber" - Claim 15 of
                    *888 Patent

        Defendant proposes a limiting construction of Term 14.             It argues that the phrase

 "defining an inflatable chamber" means "forming the bladder for the inflatable chamber;" and

 because the material must form the actual bladder, it must be "air tight material" like PVC

 tubing. Def. Br., ECF No. 46 at 26 (emphasis added). In support, Defendant cites to language in

 Claim 15, which states at the end of the claim: "a valve coupled to the second flexible material,

 the valve configured to communicate air to the inflatable chamber of the second flexible

 material." Id. (citing '888 Patent, Claim 15, at 6:6-8 (emphasis added)). Because the inflatable

 chamber is described as being "of the second flexible material," Defendant argues that the

 second flexible material must form the inflatable bladder itself. Id.


        Defendant's proposed construction hinges on the meaning of the word "defining," which

 Defendant construes to mean "forming" or "creating." Plaintiffs argue that this construction is

 wrong because it equates "second flexible material" to the inflatable chamber itself, which

 Plaintiffs suggest are clearly separate structures, not least because, according to the specification,

 there can be more than one inflatable chamber contained in the "flexible panel[s] of material."


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 PI. Br., ECF No. 45 at 26 (citing '888 Patent at 3:4-12 (describing the flexible panel of material

 as a "pocket")). Thus, in Plaintiffs' view, Claim 15 does not preclude the possibility that the

 inflatable chamber is placed inside the second flexible material, which thereby "defines" the

 limits of the chamber without being the inflatable bladder itself. Id

         Upon reviewing the patent claims and specification, the Court finds that the meaning of

 Term 14, as understood by a person of skill in the art, is readily apparent, and such meaning is

 not consistent with Defendant's limiting construction.             Phillips. 415 F.3d at 1314. The way

 the word "define" is used in Claim 15, as well as in other claims in the '888 Patent, shows that it

 means to "delimit" or "mark the boundaries of," not to "form" or "create." See, e.g.. Claim 1 of

 '888 Patent at 4:30-33 ("the second flexible material and the inflatable pillow collectively

 defining an interior region"); Claim 9 of '888 Patent at 5:9-12 ("the first inflatable bladder and

 the second inflatable bladder collectively defining an interior region").' This plain meaning is
 not undermined, as Defendant suggests, by the end of Claim 15, which states that the valve is

 coupled to the second flexible material. If the inflatable chamber is placed inside the second

 flexible material as a pocket, the valve would have to be coupled to the second flexible material

 in order to communicate air to the chamber. It does not require that the second flexible material

 form the bladder itself.


         For these reasons, the plain and ordinary meaning of Term 14 applies, which does not

 require that the second flexible material form or create the inflatable chamber.

               15.   "coupled" - Claim 15 of *888 Patent

         As this Court found with respect to Term 5 above, the Court finds that the ordinary

 meaning of the term "coupled," as understood by a person of skill in the art, is readily apparent.

 ' See also Define (v.l Webster's Third New International Dictionary (3d ed. 1981) (". . . (3): to mark the
 limits of: determine with precision or exhibit clearly the boundaries of; (4): to make distinct in outline or
 features").

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 Phillips. 415 F.3d at 1314. For reasons already stated, this meaning does not imply being

 "physically joined or attached." Furthermore, nothing in the '888 Patent suggests that the term

 "coupled" is ambiguous or was intended by the patentee to have a special or limited meaning.

            The Court is not persuaded by Defendant's argument that the way the term "coupled" is

 used in Claim 15 of the '888 Patent shows that its means "physically joined or attached."

 Def. Br., ECF No. 46 at 27. Claim 15 recites: "... a valve coupled to the second flexible

 material, the valve configured to communicate air to the inflatable chamber of the second

 flexible material."      '888 Patent at 6:6-8.    Defendant argues that without direct, phvsical

 attachment of the valve, air could not be communicated to the chamber. ECF No. 46 at 27.

 However, the second part of this cited claim element—^the valve's configuration—establishes

 that the valve must be joined in a certain way to allow direct air flow. The term "coupled" does

 not (and does not need to) carry special meaning for this claim requirement to be communicated.

            Therefore, the Court finds that the plain and ordinary meaning of Term 15 applies, which

 does not require being physically joined or attached.

               16.    "fixedly coupled" - Claim 15 of *888 Patent

            The Court does not find Term 16 indefinite as Defendant suggests. For the reasons

 stated with respect to Terms 5 and 15 above, the meaning of "coupled" is readily apparent to the

 Court and is not in need of a limiting construction. The term "fixedly coupled" merely adds the

 modifier "fixedly," which means securely or firmly. See, e.g.. Fixedlv. Webster's Third New

 International Dictionary (3d ed. 1981) ("in a fixed manner"); Fixed, id. ("1. securely placed or

 fastened: not adjustable"). When reading Claim 15 of the '888 Patent, the ordinary meaning of

 the term "fixedly coupled" is readily apparent to the Court.          Phillips. 415 F.3d at 1314.

 Therefore, no construction of Term 16 is needed. The plain and ordinary meaning of the term

 applies.

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            17.      "first flexible materiar / "second flexible materiar - Claim 15 of *888
                     Patent

        Defendant asks the Court to construe Term 17 as requiring two "different types of

 flexible material" even though the claim is silent as to the types of material required. In support,

 Defendant argues that the '888 Patent's specification refers to several different types of material,

 and "it would make no sense for a claim to refer to two distinct flexible materials if they were the

 same materials." Def. Br., ECF No. 46 at 27. At the outset, the Court notes that several of the

 claims refer to various materials (and bladders) as "first," "second," and "third" in order to

 explain the fiinction and configuration of the various parts in relation to one another. See, e.g..

 '888 Patent, Claim 9 at 4:63-5:17 (referring to "first flexible material," "second flexible

 material," and "third flexible material;" "first inflatable bladder" and "second inflatable

 bladder"). Without numbered identifiers of the various parts, the claims would be confiising.

 Therefore, the usage of "first" and "second" in Term 17 makes sense even if the materials are of

 the same type.

        Furthermore, Claim 1 of the '888 Patent specifically recites the following: ". . . the

 second flexible material being different than the first flexible material . . . "   Id at 4:15-16


 (emphasis added). No such limitation is stated in Claim 15. Defendant has failed to rebut the

 presumption of claim differentiation here and therefore presents no justifiable basis for importing

 an express limitation from one claim into another claim that states no such limitation.       supra

 discussion at 13.


        In sum, the Court finds that the ordinary meaning of Term 17 is "readily apparent" upon

 reading the asserted claim. Phillips. 415 F.3d at 1314. Therefore, no construction is necessary,

 and the plain and ordinary meaning of the term applies.




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            18.     "collectively defining an interior region" - Claim 15 of *888 Patent

        With respect to Term 18, the Court again finds that the ordinary meaning of the term, as

 understood by a person skilled in the art, is readily apparent.        Phillips. 415 F.3d at 1314.

 Therefore, claim construction here involves little more than applying "the widely accepted

 meaning of commonly understood words." Id

        Defendant seeks to import a limiting construction of this term based on specific

 configurations of the inflatable pillow displayed in the patent's embodiments, which Defendant

 argues "illustrate" what the patentee meant by this claim element. Def. Br., ECF No. 46 at 28-

 29 (citing Figures 1, 4, 5, 7 & 9 of the '888 Patent to argue that the "exterior of the pillow [must]

 extend[] within the inner perimeter of the second material").       However, Defendant does not

 claim that any of the words in this claim element are ambiguous. Nor does Defendant show that

 the meaning of any of these words was disavowed or redefined in the patent's specification.

 Thomen 669 F.3d at 1365. Thus, Defendant improperly seeks to rewrite Claim 15 to impose

 limits that do not otherwise exist in the claim language.

        For these reasons, no construction of Term 18 is necessary. The plain and ordinary

 meaning of the term applies.

            19.     "different than the shape" - Claim 19 of '888 Patent

        The Court does not find Term 19 indefinite as Defendant suggests. Claim 19 of the '888

 Patent, which is dependent on Claim 15, recites: "the shape of the first flexible material in the

 top view being different than the shape of the second flexible material in the top view when the

 inflatable chamber of the second flexible material is inflated." '888 Patent at 6:30-33 (emphasis

 added). Defendant claims that the term "different than the shape" is indefinite because "there are

 no boundaries to this claim element" and a person of ordinary skill in the art would not

 understand what this means. Def. Br., ECF No. 46 at 29. In particular, Defendant claims that

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 there is no way to know if "shape" refers to "the general shape of the perimeters of the flexible

 materials" or to the "shape of the surface areas of the flexible materials" or something else

 entirely. Def. Resp., ECF No. 56 at 10.

        The Court finds that, in the context of the entire patent, especially Claims 15 and 19, the

 term "shape" in Claim 19 means what it says; it is the shape of the first and second flexible

 materials defined by their "outer most perimeters" from "the top view" when the inflatable

 chamber of the second flexible material is inflated.          Claim 19 of '888 Patent at 6:23-30

 (stating that "the first fiexible material has an outer most perimeter defining a shape of the first

 flexible material in the top view when the inflatable chamber ... is inflated" and "the second

 flexible material has an outer most perimeter defining a shape of the second flexible material in

 the top view when the inflatable chamber ... is inflated") (emphasis added). In other words,

 "shape" here means the shape that would result if one traced the outer most perimeters of the

 flexible materials from the top view when the float's inflatable chamber is inflated.

        Claim 15, on which Claim 19 depends, is instructive here. Claim 15 recites: ". . . at least

 a portion of the perimeter portion of the inflatable pillow and the second flexible material

 collectively defining an interior region, the first flexible material being disposed within the

 interior region . . ." '888 Patent at 5:53-56. Therefore, the shape of the outer perimeter portion

 of the inner flexible material is impacted by the shape of the interior region, which is collectively

 defined by at least a portion of the perimeter of the inflatable pillow and the second flexible

 material. Depending on the shape of the perimeter portion of the pillow and the way it intersects

 with the second flexible material, the shape of the interior region can vary, and thus the shape of

 the first flexible material, including its outer perimeter portion, can vary.   Cf Claim 3 of '888

 Patent at 4:40-42 ("wherein the inflatable pillow is disposed offset from the outer perimeter



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 portion of the first flexible material") (emphasis added).

        In sum, Defendant has failed to present clear and convincing evidence that Term 19 is

 indefinite. Intel. 319 F.3d at 1366. The Court finds that, in the context of the patent as a whole,

 the asserted claim informs, with reasonable certainty, those skilled in the art about the scope of

 the invention.        Nautilus. 134 S. Ct. at 2124.     Furthermore, because the Court finds no

 ambiguity or uncertainty in the meaning of Term 19 in the context of the patent's claims and the

 specification, no construction is necessary. The plain and ordinary meaning of the term applies.

            20.      "mesh material" - Claim 18 of *888 Patent

        Term 20 was not initially identified in the parties' Joint Statement on Claims

 Construction, ECF No. 38, but it surfaced as an additional disputed term in the parties' briefing.

 Defendant argues that the '888 Patent specification requires that "mesh material" must be

 distinct from both nylon and polyester because the specification appears to distinguish between

 mesh and these two types of materials. S^ Def. Appendix, ECF No. 56-1 (citing, e.g.. '888

 Patent at 3:38-41 ("The perimeter pocket (12) portion of the flexible panel is nylon while the

 central portion (14) of the flexible material is made fi*om a mesh material.") (emphasis added);

 id. at 3:6-9 (". . . the center portion of the flexible panel is mesh . . . while the perimeter edges

 are nylon or polyester.") (emphasis added). Plaintiffs contest this limitation and instead propose

 that "mesh material" means "a pattern, such as a weave, that allows water to flow through,"

 which is not restricted to any certain type of material. PI. Br., ECF No. 45 at 29-30 (citing '888

 Patent at 3:6-9).

        The Court begins with the ordinary meaning of "mesh," which refers to how a material is

 structured rather than what it is made of.   See, e.g.. Mesh. Webster's Third New International

 Dictionary (3d ed. 1981) ("1. one of the openings between threads or cords of a net; 2a. the

 cords, threads, or wires that produce the open spaces in a net or screen; the fabric of a net; 2b. a

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      woven, knit, or knitted fabric that has an open texture with evenly spaced small holes; 3. an

      interlocking or intertwining arrangement or construction"). Therefore, in the ordinary usage of

      the term, "mesh material" means material that is structured to have open spaces or holes such

      that the material is permeable.

             Next, the Court considers the claims and specification. Neither suggests that the patentee

      intended to limit or alter this ordinary meaning of "mesh material." Claim 18, where Term 20 is

      found, recites: "wherein the first flexible material is formed with mesh material such that at least

      a portion of the user's bodv is exposed to water when the user is disposed on the apparatus, and

      the second flexible material is at least one of a nylon material or a polyester material." '888

      Patent at 6:18-23 (emphasis added); see also Claim 12 at 5:29-33 and Claim 23 at 6:51-56 (both

      reciting same). Thus, the purpose of the mesh material in Claim 18 is to enable the user's body

      to be at least partially exposed to water. This is consistent with the ordinary meaning of "mesh."

      Contrary to Defendant's claim, just because the second flexible material is required to be nylon

      or polyester does not imply that the mesh material cannot also be made of nylon or polyester, so

      long as it is structured in a way to have open spaces or holes making it permeable. Similarly, the

      specification only refers to mesh as "allow[ing] water to flow through," id at 3:9, not as being

      comprised of any certain type of material. Therefore, Defendant's proposed construction of

      "mesh material" is without support.

             In sum, the Court finds that no construction of Term 20 is necessary. The plain and

      ordinary meaning of the term applies.




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           The Clerk is DIRECTED to forward a copy of this Order to all Counsel of Record.

           IT IS SO ORDERED.                                               ,i




     Norfolk, VA
     April ^2017




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